UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

 

BASIL SEGGOS, as Commissioner of the New York CIV NO: 2:17-CV-2684
State Department of Environmental Conservation
and Trustee of New York State’s Natural Resources,

and the STATE OF NEW YORK, New Empire Builder Corp.’s
a Opposition to Fee Request by
Plaintiffs, Special Master
-against-

THOMAS DATRE, JR.; CHRISTOPHER GRABE; 5
BROTHERS FARMING CORP.; DAYTREE AT
CORTLAND SQUARE INC.; IEV TRUCKING CORP.;
COD SERVICES CORP.; ALL ISLAND MASONRY &
CONCRETE, INC.; BUILDING DEV CORP.; DIMYON
DEVELOPMENT CORP.; NEW EMPIRE BUILDER
CORP.; CIPRIANO EXCAVATION INC.;
TOUCHSTONE HOMES LLC; SAMS RENT AND
CONSTRUCTION; SAM’S RENT, INC.; NEW YORK
MAJOR CONSTRUCTION INC.; EAST COAST
DRILLING NY INC.; TRITON CONSTRUCTION
COMPANY, LLC; SUKRAM AND SONS LTD.; M & Y
DEVELOPERS INC.; “JOHN DOE”; ATRIA
BUILDERS, LLC; WOORI CONSTRUCTION INC.;
PLUS K CONSTRUCTION INC.; NY FINEST
ENTERPRISES INC.; MONACO CONSTRUCTION
CORP.; ALEF CONSTRUCTION INC.,; 158
FRANKLIN AVE. LLC; LUCIANO’S
CONSTRUCTION, INC.; ILE CONSTRUCTION
GROUP, INC.; EAST END MATERIALS, INC;
SPARROW CONSTRUCTION CORP.; CIANO
CONCRETE CORP.; FREEDOM CITY
CONTRACTING CORP.; and TOTAL STRUCTURE
SERVICES INC.,

Defendants.

 

PAUL J. FELICIONE, an attorney duly admitted to practice law before the Courts of
the State of New York and specifically to the United States District Court for the Eastern

District of New York, states and alleges the following under the penalties of perjury:
I am a partner in the law firm of Desena & Sweeney, LLP, attorneys for New Empire
Builder Corp. As such I am fully familiar with the proceedings described herein.

T respectfully submit this opposition to the fee application of Special Master J. Kevin
Healy, Esq.

The exhibits annexed to the fee application reference a total fee amount of
$175,110.20. It is respectfully submitted that this amount is exorbitant for the
services provided in preparation of the Report and Recommendations.

. The records submitted show over 300 attorney hours at the rates in the range of $620
and $644 per hour for Attorney Healy and Attorney Karmel, respectively.

. The issues involved in this litigation and in the preparation of the above report are
relatively clear and well defined. It is respectively submitted that there is no reason
as to why multiple attorneys should have been required regarding this matter. At
least four separate attorneys were utilized in the preparation of this report from the
firm. This resulted in numerous entries regarding consultations between attorneys
and repetitious reviewing of documents by multiple attorneys.

In addition, the billing documents contain numerous entries beginning with

mu

“worked on...” without any clarification as to what exactly the billing attorney
actually did in terms of legal work.

The entries also contain clerical functions billed at attorney’s rates. Such entries
contain “Arrange for case pull”, “Email librarian”, and “retrieve cases”.

The entries also contain the phrase “review cases” and “review treatise” and

“review briefs” without septicity as to what exactly is being reviewed and the

purpose of the review.
Case 2:17-cv-02684-MKB-LB Document 400 Filed 10/16/19 Page 3 of 4 PagelD #: 3524

9. The entries also contain numerous inter-office conferences between attorneys. The
Court assigned a Special Master for a Report and Recommendation and not
numerus “special masters” from one law firm.

10. The entries for Westlaw computerized searches should not be billed since it should
be part of overhead of a modern law firm where monthly/yearly rates should apply.

11. In summary, the entries submitted totaling over $175,000 should not be accepted by
this Court in its current form. The vague entries, reviews by multiple attomeys,
conferences between attorneys and for Westlaw services should be rejected by this
Court. The Applicant should be directed by the Court to re-submit invoices and
charges that cure the items addressed above which should result in a more

reasonable fee or the Court should reduce the fees in accordance with the above.

eric eee WEENEY, LLP

PAUL. i ESQ. (PF-7795)
Attorneys for Defendant

NEW EMPIRE BUILDER CORP.

1500 Lakeland Avenue

Bohemia, NY 11716

631-360-7333

Dated: Bohemia, New York
October 15, 2019
 

Case No. 2:17-CV-2684 Year 2017

 

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CONTRACTING CORP.; AND TOTAL STRUCTURE SERVICES INC.,

.Defendants.

NEW EMPIRE BUILDER CORP.’S OPPOSITION TO FEE REQUEST BY SPECIAL MASTER

 

DESENA & SWEENEY, LLP
Attormeys at Law
Attorneys for NEW EMPIRE BUILDER CORP.
1500 Lakeland Avenue
Bohemia, New York 11716
(631) 360-7333

Sir: Please take notice

O NOTICE OF ENTRY
that the within is a (certified) true copy of a duly entered in the office of the clerk of
the within named Courton  — , 20
CO) NOTICE OF SETTLEMENT
that an order of which the within is a true copy will be presented for settlement to the Honorable
, one of the judges of the within named court at on , 20 at M.
Yours etc.,
See Service Rider DESENA & SWEENEY, LLP
Attorneys for
NEW EMPIRE BUILDER CORP.
1500 Lakeland Avenue

Bohemia, NY 11716
(631) 360-7333
